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  EXHIBIT M
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE

 MANIKANTA PASULA, et al.,

                    Plaintiffs,

                        v.
                                                    Case No.
 U.S. DEPARTMENT OF HOMELAND
 SECURITY, et al.,

                   Defendants.


                         DECLARATION OF HANGRUI ZHANG

I, Hangrui Zhang, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      My name is Hangrui Zhang.

       2.      I am a citizen of People’s Republic of China. I currently live in Massachusetts.

       3.      I first entered the United States in August 2023 to begin my Ph.D. in Electronic and

Computer Science at Worcester Polytechnic Institute. During these years, I kept my GPA 4.0/4.0

and delivered an excellent job to my research advisor.

       4.      Most recently, on April 9, 2025, I was informed that my SEVIS record was

terminated. The SEVIS record indicated the following: “OTHER – Individual identified in

criminal records check and/or has had their VISA revoked. SEVIS record has been terminated.”

       5.      I unfortunately have one arrest record in December 2024, stemming from a total

misunderstanding. On December 6, 2024, I was arrested and charged with shoplifting in Worcester,

MA, because I was trying to buy a cup of coffee at Starbucks, which is near the exit, and that

movement made the security misunderstand me. In that case, I was falsely accused of stealing from

that local store. However, the case was dismissed through the pretrial diversion.

       6.      I do not have any criminal record in China.

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       7.        I have complied with all rules and regulations as an F-1 student. I do not understand

why my F-1 student status was terminated.

       8.        The termination of my F-1 visa status has left me deeply worried about both my

personal safety and long-term future. Not knowing where I stand legally in the United States has

caused significant emotional distress, especially after years of dedicated effort toward my

academic and career aspirations.

       9.        Without F-1 student status, my ability to continue my studies, contribute to

research, and pursue my professional goals is in jeopardy. I am terrified of being compelled to

leave the United States before completing my Ph.D., which would interrupt everything I have

worked for. This unexpected situation has made me feel exposed and uncertain—not just about

the present but about where my life is headed. My entire academic and career path is deeply tied

to the opportunities I have built here, and the idea of losing all of it is both frightening and

destabilizing.

       10.       The cancellation of my SEVIS record has left me fearful of possible immigration

detention and removal from the country, as I may no longer hold valid student status. I am

especially concerned about being abruptly detained and transferred to distant locations such as

Louisiana.

       11.       Additionally, I am no longer permitted to work as a research assistant, nor can I

receive financial support from my doctoral program. This has created serious academic and

financial hardship, as the assistantship was not only my sole income source but also an essential

part of my Ph.D. training.

       12.       As a second-year doctoral student, I am expected to prepare a publication under my

advisor’s supervision. I have dedicated several months to this project. However, because I’m now



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unable to conduct research, I fear the opportunity to publish my findings has been lost. This could

significantly slow my academic progress and delay major milestones, including my Ph.D.

qualification.

       13.       I have already fulfilled most of the coursework requirements. At this stage of my

doctoral studies, research has become my primary focus. As a PhD candidate, my department has

a Diagnostic Examination Requirement which says: The doctoral student is required to complete

the diagnostic examination requirement during the first year beyond the M.S. degree (or equivalent

number of credits, for students admitted directly to the Ph.D. program) with a grade of Pass. As a

student who was admitted directly into the Ph.D. program, I am currently completing the M.S.

degree requirements and am scheduled to take the associated examination next year. However,

since the termination of my SEVIS record, my funding has been cut off, forcing me to halt my

research activities with my advisor. This disruption has had a serious impact on the progress of my

work, and my Research Advisor and Committee will assess my performance within the context of

these challenges. If I receive a Fail on this examination, it will result in my removal from the

graduate program, effectively ending my pursuit of a Ph.D.

       14.       Being unable to carry on with my research as a result of my SEVIS record

termination would interfere with my academic schedule and potentially postpone my degree

completion. This setback would seriously hinder my academic advancement and threaten my

financial security, as I risk losing my stipend altogether if I’m compelled to extend my studies past

the usual duration due to factors outside of my control.

       15.       I have maintained my student status through my F-1 student status including

attending a full course of studies.

       16.       I have not engaged in any unauthorized employment in the United States.



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       17.     I have been truthful to U.S. government officials.

       18.     I have not been convicted of any crime of violence in the United States.

       19.     I am not aware that the U.S. government put me in the federal register to terminate

my F-1 student status.

       20.     I want to be a named plaintiff in this case. I understand that, as a class

representative, it would be my responsibility to represent the interests of all the class members in

this lawsuit, and not just my own personal interests. I also understand the need to stay informed

about what is happening in the case.

       21.     I understand that I am agreeing to represent many students and graduates like me.



I declare under penalty of perjury that the foregoing is true and correct.




___________________________
Hangrui Zhang
Executed on April 15, 2025.




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